CaS€ 8-16-74455-38'[ DOC 85 Filed 04/30/18 Entered 04/30/18 16215204

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April 30, 2018

Offlce of the Clerk

United States Bankruptcy Court
290 Federal Plaza

Central Islip, NY 1 1722~9013

Re: Anthony T. Ross
Case No. l6-74455

Dear Sir/Madam:

On January 5, 2018, the Trustee’s office inadvertently flled a Trustee’s Report of No

Distribution in the above referenced case. Mr. Pryor requests that you rescind this report.

If you have any questions, please contact the undersigned Thank you.
Very Truly Yours,
PRYOR & MANDELUP, L.L.P.

s/Andrea Giliberto
Andrea Giliberto, Legal Assistant

